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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00572-CRC
         v.                                   :
                                              :
JOSHUA DRESSEL,                               :
                                              :
                 Defendant                    :

                        GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Joshua Dressel to 45 days of incarceration followed by three-years of

probation, 60 hours of community service, and $500 restitution.

    I.        Introduction

         Defendant Joshua Dressel participated in the January 6, 2021 attack on the United States

Capitol—a violent attack that forced an interruption of Congress’s certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred police officers, and resulted in more than 2.8 million

dollars’ in losses. 1




1
 As of October 17, 2022, the approximate losses suffered as a result of the siege at the United
States Capitol was $ $2,881,360.20. That amount reflects, among other things, damage to the
United States Capitol building and grounds and certain costs borne by the United States Capitol
Police.


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        Defendant Dressel pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G):

Parading, Demonstrating, or Picketing in the Capitol Building. As explained herein, a sentence of

45 days of incarceration followed by three-years of probation, 60 hours of community service, and

$500 restitution is appropriate in this case because Dressel (1) observed chaos and violence against

police officers on the West Plaza of the Capitol grounds and watched other rioters trample over

barricades, climb scaffolding, scale walls, and physically struggle with police; (2) climbed an

approximate ten-foot high banister of the northwest stairs that led to the Upper West Terrace and

the Capitol building; (3) directed and helped other rioters, from atop the banister, climb up

overturned bike racks to the top of the banister; (4) ascended the northwest stairs to the Upper

West Terrace outside of the Senate Wing Doors, the site of one of the most consequential breaches

of the Capitol, and entered the doors approximately two minutes after the doors had been breached;

(5) was among the first wave of rioters who entered the Crypt and clashed with police there; (6)

deleted videos he recorded of the January 6 assault on the Capitol from his mobile telephone and

from his Facebook account; (7) minimized his unlawful conduct during an interview with FBI

agents, and (8) has not sincerely expressed genuine remorse for his conduct on January 6.

        The Court must also consider that Dressel’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers who trying to prevent a breach of the Capitol Building, and disrupt

the proceedings. Here, the facts of and circumstances of Dressel’s crime support a sentence of 45

of incarceration followed by three-years of probation, 60 hours of community service, and $500

restitution.




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                            The January 6, 2021 Attack on the Capitol

       To avoid unnecessary exposition, the government refers to the general summary of the

attack on the Capitol. (Attachment 1: Statement of Offense Dated August 16, 2022)

             Defendant Dressel’s Role in the January 6, 2021 Attack on the Capitol

       The defendant, Joshua Dressel, who lives in Missouri, traveled to Washington, D.C.,

prior to January 6 with others. The purpose of Dressel’s trip was to protest Congress’

certification of the 2020 Electoral College vote.

       After attending the former President’s rally, Dressel walked to the west side of the Capitol

grounds. While enroute, Dressel learned that rioters were planning on entering the Capitol

building. Rioters had toppled barricades established by the United States Capitol Police that

consisted of metal bike racks, physically linked end to end. Workers had erected scaffolding over

a staircase that led to the building’s Upper West Terrace in preparation for the upcoming

presidential inauguration. Alongside the staircase and scaffolding was a banister that was

approximately ten feet tall. Rioters stacked metal bike racks against the banister to build a

makeshift ladder system that allowed rioters to climb atop the banister. Rioters then used the

banister to access the staircase, Upper West Terrace, and the Capitol building. Law enforcement

officers were positioned on the staircase and attempted to keep the rioters away from the building.

However, the rioters were able to push past the officers and access the building.

       Once on the West Plaza, Dressel scaled a bike rack to get to the top of the banister. Once

there, Dressel directed and assisted other rioters in scaling the banister. (Images 1-4)




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                             Image 1




                Image 2                    Image 3




                              Image 4

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       Rioters in this location were also climbing the scaffolding and scaling other walls to access

the building. On the ground below, Dressel watched from the top of the banister as rioters were

physically clashing with police and the encounters got more violent. (Image 5)




                                                 Image 5




                                                5
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       Despite the rapidly escalating situation and what Dressel described as a “rowdy” situation

with pushing, yelling, and chanting, Dressel traveled across the banister and up the adjoining stairs

to the Upper West Terrace outside of the Senate Wing Doors. (Image 6) Dressel was outside the

Senate Wing Doors when it was breached. (Image 7)




                                            Image 6




                                            Image 7




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       When the Senate Wing Doors were breached, rioters smashed a glass window, forced the

doors opened, and caused the first breach of the Capitol building. (Image 8) The initial breach of

that location occurred at 2:13 p.m.




                                          Image 8

       Approximately two minutes later, at 2:15 p.m., Dressel entered the Senate Wing Doors as

alarms sounded. (Image 9) Dressel was among the first group of rioters to make entry into the

building. Upon entering, Dressel is shown on video expressing excitement for making entry inside

of the Capitol building.




                                           Image 9


                                                7
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       Dressel then walked through adjoining hallways where he was confronted with smoke.

Instead of exiting, Dressel traveled to the Crypt where he remained for approximately 15 minutes.

(Image 10) Dressel was among the first wave of rioters to have an encounter in police in that area.

There was eventually a physical struggle in Crypt between rioters and police.




                                         Image 10


       While in the Capitol, Dressel was captured on live video footage that aired on cable

television. A tipster submitted a screenshot of this footage was submitted to the FBI. (Image 11)

       Dressel then traveled back to the Senate Wing Door area and exited the building through a

broken window at approximately 2:38 p.m. Dressel remained on the Capitol grounds until

approximately 4:00 p.m.

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                                         Image 11

       Dressel then traveled back to the Senate Wing Door area and exited the building through a

broken window at approximately 2:38 p.m. Dressel remained on the Capitol grounds until

approximately 4:00 p.m.

                                      Social Media Posts

       At the time of the attack on the Capitol, Dressel had a Facebook account. The account was

created on January 14, 2007 and was deleted on February 7, 2021. Further records obtained from

a court-authorized search warrant of Dressel’s Facebook account revealed that Dressel discussed

his presence inside the Capitol on January 6, 2021, with another Facebook user, Facebook User 1,

via Facebook Messenger. Later in the day on January 6, 2021, Dressel and Facebook User 1 had

the following conversation (indicated times of the conversation are approximate):



       Facebook User 1:      Good job today!!!! [5:41 p.m.]
       Dressel:              First 20 people or so to break into the Capitol [5:45 p.m.]
       Facebook User 1:      You’re a fucking beauty!!!!!! Was there antifa fucks in
                             there? [5:50-5:51 p.m.]
       Dressel:              Yes [5:52 p.m.]


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                                            ***
       Facebook User 1:       You still out on the streets? [5:57 p.m.]
       Dressel:               Just now leaving. [6:00 p.m.]
       Facebook User 1:       Will yas be back tomorrow? [6:01 p.m.]
       Dressel:               Yes [6:02 p.m.]
       Facebook User 1:       I have so many questions hahaha [6:02 p.m.]
       Dressel:               Haha [6:02 p.m.]
       Facebook User 1:       You guys are true patriots!!!! Should be fucking proud of
                              yourselves. [6:02 p.m.]
       Dressel:               Thanks. Love ya brother! [6:27 p.m.]
       Facebook User 1:       Now they’re resuming the electoral count. After the curfew
                              and everyone leaves. Some of these republican senators
                              better reject it. [7:08 p.m.]
       Dressel:               These mother fuckers! [7:08 p.m.]
       Facebook User 1:       It’s unbelievable. I can only imagine how you furious you
                              guys are. I’m livid and I’m Canadian. [7:11 p.m.]
       Dressel:               Dude this shit is fucking outrageous. It’s crazy, swamp is
                              larger [7:12 p.m.]

       Dressel and Facebook User 1 also discussed a video Dressel had apparently posted that

Facebook User 1 said depicted Dressel in the Capitol:

       Facebook User 1:       Just went to show the wife the video of you guys in the
                              capitol. I see ya deleted it. Smart move lol [7:17 p.m.]
       Dressel:               Lol I’m proud to say I was a voice of reason in there trying
                              to stop the crazy shit and calm things down [7:22-7:23p.m.]
       Facebook User 1:       Im sure ya were. I was going to tell you ya should delete it.
                              Don’t give them any more notice to come and find you once
                              they look at the cctv tapes inside the capitol. I gotta say. It’s
                              pretty fucking rad that you were there. I hate that the snakes
                              are back in there now trying to resume the count after all the
                              protestors were pushed out and curfew was set. Trying to
                              sneak the steak in the cover of night. Fucking cowards. [7:27
                              p.m.]

       Dressel did not reply to Facebook User 1’s comment regarding deleting the video. The

records of Dressel’s account obtained from Facebook did not include the video.

       The tipster who contacted the FBI and identified Dressel, said that they saw a live-streamed

video from Dressel’s Facebook account that appeared to be taken from inside the Capitol on

January 6, 2021, and showed a large number of people chanting, “Stop the Steal.” By the time of



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the interview with the tipster, however, Dressel’s Facebook account appeared to be deleted, and

the FBI could not review the video streamed from Dressel’s Facebook page.

       After the riot, Dressel became aware he had been captured on video inside the Capitol. In

response, he deleted videos on his phone and his Facebook account.

                                     Dressel’s FBI Interview

       As was his right, Dressel declined to speak with law enforcement officials before he

pleaded guilty. As required by his plea agreement, Dressel was interviewed by the FBI on January

4, 2023. During the interview, he explained that he learned about multiple events taking place in

Washington D.C. on January 6, 2021 through social media and associates. Dressel wanted to

protest and voice his opposition to the 2020 election. Dressel advised that he had been to three

prior rallies between the 2020 election and January 6. Two of the rallies were in Washington D.C.

and one was in Georgia.

       According to Dressel he traveled to Washington D.C. a few days prior to January 6 with

friends. On the morning of January 6, he attended the rally. Shortly after the former President

began to speak, Dressel and others began walking toward the Capitol and while enroute Dressel

learned that rioters were planning on going inside the Capitol building.

       Upon entering the west side of the Capitol grounds, Dressel observed all the security

barricades had been toppled and rioters were scaling walls. Dressel used a bike rack to scale the

wall to the top of banister of the northwest stairs. While there Dressel contended that he was

helping elderly and injured individuals get down from the banister. However, open-source video

shows that Dressel was doing more than merely helping the elderly and the injured. (Exhibit 1) 2



2
 Exhibit 1 is an open-source video that was taken by another rioter and features Dressel on top of
the banister of the northwest stairs. Image 2 and 3 on page four of this memorandum are still
shots from the video.
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In the video exhibit, Dressel appears to be directing rioters on how to scale the walls and aiding

many in climbing up the banister. From the top of the banister, Dressel watched rioters on the

ground getting “rowdy” and physically confronting police officers.

        Dressel then stated that he ascended the stairs to the Upper West Terrace and ultimately

entered the building through the Senate Wing Doors. According to Dressel, the doors were already

opened when he entered, and he was not aware of any smashed windows or broken doors despite

entering two minutes after the breached occurred and being outside of the doors when the breach

was taking place. Surveillance footage from the Senate Wing Doors shows that Dressel appeared

to be enthusiastic when he entered.

        Dressel made his way into the Crypt where he was among the first to encounter police

officers. He insisted that he tried to calm the crowd down, however, his presence among the mob

of rioters significantly escalated the situation in this area.

        Dressel then made his way back to the Senate Wing Door area and exited through a broken

window. Dressel stated that he did not witness any rioter breaking or stealing items from the

Capitol building. After exiting, Dressel admitted to staying on the grounds for 45 additional

minutes.

        Soon after the riot, Dressel learned that he was captured on video inside the Capitol and

that video was broadcast on national television. Dressel acknowledged taking photographs and

videos from January 6 and posting at least one video on Facebook. He further admitted that he

deleted the video and his Facebook account after the riot. During the interview, Dressel did not

demonstrate remorse for his conduct on January 6.




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                                   The Charges and Plea Agreement

          On June 29, 2021, the United States charged Dressel by criminal complaint with violating

18 U.S.C. § 1752(a)(1), Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority; 18 U.S.C. § 1752(a)(2), Disorderly and Disruptive Conduct in a

Restricted Building or Grounds; 40 U.S.C. § 5104(e)(2)(D), Disorderly Conduct on Capitol

Grounds; 40 U.S.C. § 5104(e)(2)(G), Parade, Demonstrate, or Picket in any of the Capitol

Buildings. On July 13, 2021, Dressel was arrested. On September 13, 2021, the United States

charged Dressel by a four-count Information with violating the same offenses contained in the

criminal complaint. On August 18, 2022, pursuant to a plea agreement, Dressel pleaded guilty to

Count Four of the Information, charging him with a violation of 40 U.S.C. § 5104(e)(2)(G), Parade,

Demonstrate, or Picket in any of the Capitol Buildings. By plea agreement, Dressel agreed to pay

$500 in restitution to the Department of the Treasury.

   II.       Statutory Penalties

          Dressel now faces a sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G).

As noted by the plea agreement and the U.S. Probation Office, Dressel faces up to six months of

imprisonment and a fine of up to $5,000. Dressel must also pay restitution under the terms of his

or her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072,

1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines

do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   III.      Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the



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defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, §

3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of a sentence of 45 days of

incarceration, followed by three -years of probation, 60 hours community service, and $500

restitution.

               A. The Nature and Circumstances of the Offense

        The attack on the U.S. Capitol on January 6 posed a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Dressel’s

participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, for a misdemeanor defendant like Dressel, the

absence of violent or destructive acts is not a mitigating factor. Had Dressel engaged in such

conduct, he or she would have faced additional criminal charges.

        As referenced throughout this memorandum, some of the most aggravating factors are

Dressel’s actions on the northwest stairs and West Plaza where he scaled the banister, assisted

others to climb atop the banister, and witnessed violence against law enforcement. Dressel was

indifferent to the violence and mayhem and proceeded to enter the building. Dressel was one of

the first rioters to enter the building, which occurred two minutes after the breach of the Senate

Wing Doors. Dressel ignored the clear signs of a violent entry that included shattered glass on the



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floor as alarms sounded and traveled further inside into the building. Dressel eventually exited the

building but stayed on the grounds for forty-five minutes. After the riot, Dressel boasted about his

involvement through social media but eventually destroyed evidence after the riot as he admitted

to deleting videos from his phone and his Facebook account. Accordingly, the nature and the

circumstances of this offense establish the clear need for a sentence of incarceration in this matter.

            B. The History and Characteristics of Dressel

         As set forth in the presentence report, Dressel’s criminal history consists only of traffic

offenses.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I

don't think anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




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       General Deterrence

        The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

       General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President.

       Specific Deterrence

       The need for specific deterrence for Dressel justifies incarceration followed by probation.

As described throughout this memorandum, Dressel’s actions in the underlying offense assisted

and encouraged the violence and destruction that occurred on January 6. Dressel’s seemingly lack

of remorse at any time following January 6 also demonstrates the need for specific deterrence.

Never again can Dressel engage in such behavior.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 3 This

Court must sentence Dressel based on his own conduct and relevant characteristics, but should




3
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.

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give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot.

        Dressel has pleaded guilty to violating 40 U.S.C. § 5104(e)(2)(G): Parading,

Demonstrating, or Picketing in the Capitol Building, which is a Class B misdemeanor. 18 U.S.C.

§ 3559. The sentencing factors set forth in 18 U.S.C. § 3553(a), including “the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply, however.

        Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” Section 3553(a)(6) does not limit the sentencing court’s broad

discretion under 18 U.S.C. § 3553(a) “to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this subsection.” 18 U.S.C.

§ 3553(a). Although unwarranted disparities may “result when the court relies on things like

alienage, race, and sex to differentiate sentence terms,” a sentencing disparity between defendants

whose differences arise from “legitimate considerations” such as a “difference[] in types of

charges” is not unwarranted. United States v. Bridgewater, 950 F.3d 928, 936 (7th Cir. 2020).

        “Congress’s primary goal in enacting § 3553(a)(6) was to promote national uniformity in

sentencing rather than uniformity among co-defendants in the same case.” United States v. Parker,

462 F.3d 273, 277 (3d Cir. 2006). “[A] defendant cannot rely upon § 3553(a)(6) to seek a reduced

sentence designed to lessen disparity between co-defendants’ sentences.” Consequently, Section

3553(a)(6) neither prohibits nor requires a sentencing court “to consider sentencing disparity

among codefendants.” Id. Plainly, if Section 3553(a)(6) is not intended to establish sentencing

uniformity among codefendants, it cannot require uniformity among all Capitol siege defendants



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charged with petty offenses, as they share fewer similarities in their offense conduct than

codefendants do. See United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Tr. at 48-49 (“With

regard to the need to avoid sentence disparity, I find that this is a factor, although I have found in

the past and I find here that the crimes that occurred on January 6 are so unusual and unprecedented

that it is very difficult to find a proper basis for disparity.”) (statement of Judge Chutkan)

       Cases involving convictions only for Class B misdemeanors (petty offenses) are not subject

to the Sentencing Guidelines, so the Section 3553(a) factors take on greater prominence in those

cases. Sentencing judges and parties have tended to rely on other Capitol siege petty offense cases

as the closest “comparators” when assessing unwarranted disparity. But nothing in Section

3553(a)(6) requires a court to mechanically conform a sentence to those imposed in previous cases,

even those involving similar criminal conduct and defendant’s records. After all, the goal of

minimizing unwarranted sentencing disparities in Section 3553(a)(6) is “only one of several

factors that must be weighted and balanced,” and the degree of weight is “firmly committed to the

discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012).

The “open-ended” nature of the Section 3553(a) factors means that “different district courts may

have distinct sentencing philosophies and may emphasize and weigh the individual § 3553(a)

factors differently; and every sentencing decision involves its own set of facts and circumstances

regarding the offense and the offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C.

Cir. 2008). “[D]ifferent district courts can and will sentence differently—differently from the

Sentencing Guidelines range, differently from the sentence an appellate court might have imposed,

and differently from how other district courts might have sentenced that defendant.” Id. at 1095.

It follows that a sentencing court in a Capitol siege petty offense case is not constrained by

sentences previously imposed in other such cases. See United States v. Stotts, D.D.C. 21-cr-272



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(TJK), Nov. 9, 2021 Sent. Hrg. Tr. at 33-34 (“I certainly have studied closely, to say the least, the

sentencings that have been handed out by my colleagues. And as your attorney has pointed out,

you know, maybe, perhaps not surprisingly, judges have taken different approaches to folks that

are roughly in your shoes.”) (statement of Judge Kelly).

       Additionally, logic dictates that whether a sentence creates a disparity that is unwarranted

is largely a function of the degree of the disparity. Differences in sentences measured in a few

months are less likely to cause an unwarranted disparity than differences measured in years. For

that reason, a permissible sentence imposed for a petty offense is unlikely to cause an unwarranted

disparity given the narrow range of permissible sentences. The statutory range of for a petty offense

is zero to six months. Given that narrow range, a sentence of six months, at the top of the statutory

range, will not create an unwarranted disparity with a sentence of probation only, at the bottom.

See United States v. Servisto, D.D.C. 21-cr-320 (ABJ), Dec. 15, 2021 Sent. Hrg. Tr. at 23-24

(“The government is trying to ensure that the sentences reflect where the defendant falls on the

spectrum of individuals arrested in connection with this offense. And that’s largely been

accomplished already by offering a misdemeanor plea, which reduces your exposure

substantially.”) (statement of Judge Berman Jackson); United States v. Dresch, D.D.C. 21-cr-71

(ABJ), Aug. 4, 2021 Sent. Hrg. Tr. at 34 (“Ensuring that the sentence fairly reflects where this

individual defendant falls on the spectrum of individuals arrested in connection with the offense

has largely been accomplished by the offer of the misdemeanor plea because it reduces his

exposure substantially and appropriately.”) (statement of Judge Berman Jackson); United States v.

Peterson, D.D.C. 21-cr-309, Sent. Hrg. Tr. at 26 (statement of Judge Berman Jackson) (similar).




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       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, other judges of this court have sentenced imposed incarceration

for defendants who was involved in the riot on the West Plaza and entered the Senate Wing Doors.

       This Court sentenced co-defendants, Nolan Kidd and Savannah McDonald to 45 days and

21 days, respectively, in United States v. Kidd, et al, 21-cr-429 (CRC). There are similarities

between those defendants and Dressel. Kidd and McDonald observed and cheered as the mob of

rioters overran law enforcement on the northwest stairs. Dressel was one of the rioters on the stairs

who was part of that initial mob in that location. Like Dressel, Kidd and McDonald proceeded to

the building despite the violence that was occurring and all three (Kidd, McDonald, and Dressel)

were among the first wave of rioters to enter the Capitol building. Kidd and McDonald were inside

the Capitol longer than Dressel. All three filmed scenes of the chaos that day and posted them on

social media.

       In United States v. Joshua Wagner, 21-cr-310 (ABJ), Judge Berman Jackson sentenced the

defendant to 30 days in custody for his participation in the riot. He entered the Capitol through the

broken window next to the Senate Wing Door where Dressel entered. He disregarded instructions

from the police and joined the crowd in chants. Just days after the riot, when he learned he was

under investigation, Wagner, unlike Dressel, expressed regret and a willingness to cooperate, and

quickly accepted responsibility. Wagner had no criminal history whatsoever.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize



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and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. A sentence of 45 days of incarceration followed by three-

years of probation is sufficient, but not greater than necessary, to serve the purposes of sentencing

under 18 U.S.C. § 3553(a)(2). The Court may impose such a sentence either under Section

3563(b)(10), with a term of imprisonment as a condition of probation, or as a split sentence under

Section 3561(a)(3).

       In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation a sentencing court may impose is a requirement

that a defendant

           remain in the custody of the Bureau of Prisons during nights, weekends or other
           intervals of time, totaling no more than the lesser of one year or the term of
           imprisonment authorized for the offense, during the first year of the term of
           probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility”

to impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983

WL 25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over

weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id. 4


4
  Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation was “not
intended to carry forward the split sentence provided in Section 3561, by which the judge imposes
a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL 25404,
at *98.

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       Section 3563(b)(10) authorizes a sentencing court to impose one or more intervals of

imprisonment as a condition of probation. 18 U.S.C. § 3653(b)(10). Section 3563(b)(10)

authorizes sentencing courts to impose up to a year (or the authorized statutory maximum) of

imprisonment, which the defendant must serve during the first year of probation. Id. Thus, for a

violation of 40 U.S.C. § 5104(e)(2)(G), Section 3563(b)(10) facially permits a sentencing court to

require the defendant to serve up to six months in prison as a condition of probation. See 40 U.S.C.

§ 5109; 18 U.S.C. § 3563(b)(10). Any imprisonment term imposed as a condition of probation

must be served during “nights, weekends or other intervals of time.” § 3563(b)(10).

       Although the statute does not define an “interval of time,” limited case law suggests that it

should amount to a “brief period” of no more than a “week or two” at a time. United States v.

Mize, No. 97-40059, 1998 WL 160862, at *2 (D. Kan. Mar. 18, 1998) (quoting Section

3563(b)(10)’s legislative history described above and reversing magistrate’s sentence that included

30-day period of confinement as a condition of probation); accord United States v. Baca, No. 11-

1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18, 2011) (concluding that two 45-day periods of

continuous incarceration as a condition of probation was inconsistent with Section 3563(b)(10));

see also United States v. Anderson, 787 F. Supp. 537, 538 (D. Md. 1992) (continuous 60-day

incarceration not appropriate as a condition of probation); United States v. Forbes, 172 F.3d 675,

676 (9th Cir. 1999) (“[S]ix months is not the intermittent incarceration that this statute permits.”).

Accordingly, a sentence of up to two weeks’ imprisonment served in one continuous term followed

by a period of probation is permissible under Section 3563(b)(10).

       Typically known as “intermittent confinement,” a sentencing court may impose multiple

intervals of imprisonment under Section 3563(b)(10). See Anderson, 787 F. Supp. at 539. Section

3563(b)(10) thus authorizes this Court to impose more than one imprisonment interval, where each



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such interval is no more than 14 days. See, e.g., United States v. Cameron, 22-cr-17 (TFH), ECF

No. 36 (D.D.C. Aug. 17, 2022) (imposing 30-day imprisonment sentence (ten three-day intervals)

and three years of probation); United States v. Vuksanaj, 21-cr-620 (BAH), ECF No. 43 (D.D.C.

Apr. 29, 2022) (imposing 42-day imprisonment sentence (three 14-day intervals) and three years

of probation); United States v. Reed, 21-cr-204 (BAH), ECF No. 177 (D.D.C. Apr. 14, 2022)

(same); United States v. McCreary, 21-cr-125 (BAH), ECF No. 46 (D.D.C. Apr. 1, 2022) (same);

United States v. Howell, 21-cr-217 (TFH), ECF No. 41 (D.D.C. Mar. 8, 2022) (imposing 60-day

imprisonment sentence (six 10-day intervals) and three years of probation); United States v.

Schornak, 21-cr-278 (BAH), ECF No. 71 (D.D.C. Feb. 18, 2022) (imposing 28-day imprisonment

sentence (two 14-day intervals) and three years of probation).         Imposing an intermittent

confinement sentence with 45 days of imprisonment as a condition of probation is appropriate in

this case.

        To be sure, earlier in the investigation of the January 6 attack on the Capitol, the

government refrained from recommending intermittent confinement sentences given the potential

practical and logistical concerns involved when an individual repeatedly enters and leaves a

detention facility during an ongoing global pandemic. At this point, however, multiple jury trials

have successfully occurred, see Standing Order No. 22-64 (BAH), at 3 (D.D.C. Nov. 9, 2022)

(noting that the Court has “forg[ed] ahead” and eas[ed] the backlog” of criminal cases since the

Omicron surge began to abate in February 2022), and general COVID trends appear to show a

decrease in cases. 5




5
   See Centers for Disease Control and Prevention, COVID Data Tracker, available at
https://covid.cdc.gov/covid-data-tracker/#datatracker-home (last viewed Nov. 21, 2022).

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    IV.      A sentence imposed for a petty offense may include both imprisonment and
             probation.

          The government’s recommended sentence of 45 days of incarceration followed by three-

years of probation is also permissible under 18 U.S.C. § 3561(a)(3). As Judge Lamberth observed,

Section 3561(a)(3) “permits a sentencing judge to impose a term of probation at the same time as

a term of imprisonment when a defendant is sentenced to imprisonment for only a petty offense or

offenses.” Little, 590 F.Supp.3d at 351; see generally Appellee’s Brief for the United States,

United States v. Little, No. 22-3018 (D.C.) (filed Aug. 29, 2022). Because the government has

briefed a sentencing court’s authority to impose a split sentence for a defendant convicted of a

single petty offense in this Court and the D.C. Circuit, those arguments are not elaborated further

here. 6

    V.       Conclusion

          Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Dressel to 45 days incarceration, 36

months’ probation, 60 hours community service, and $500 restitution.

          Such a sentence protects the community, promotes respect for the law, and deters future

crime by imposing restrictions on his liberty as a consequence of his behavior, while recognizing

his acceptance of responsibility for his crime.




6
 The defendant’s appeal of the split sentence imposed in Little is pending. The D.C. Circuit heard
oral argument on November 2, 2022.

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                            Respectfully submitted,

                            MATTHEW M. GRAVES
                            United States Attorney
                            D.C. Bar No. 481052

                            By:
                            /s/ Matthew Moeder
                            Matthew Moeder
                            Assistant United States Attorney
                            MO Bar No. 64036
                            400 East 9th Street, Room 5510
                            Kansas City, Missouri 64106
                            (816) 426-4103
                            Matthew.Moeder@usdoj.gov




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                                CERTIFICATE OF SERVICE
       I hereby certify that on January 11, 2023 I caused a copy of the foregoing opposition to
be served on defense counsel of record via email.
                                             /s/ Matthew Moeder
                                             Matthew Moeder
                                             Assistant United States Attorney




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